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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS



 YUWSUF ABDUL-GHAFOOR, ELIZABETH ANN              )
 ACEVEDO, RICHIE LEE ACEVEDO, MICHAEL ACEVEDO, )
 BRIAN ALLEN ADAIR, FANNIECE B. ADAMS, SANDRA     )
 KAY ADAMS, RONALD L. ADAMS, MARK LEON ADAMS, )
 DERRICK M. ADAMS, EVELYN RENE ADAMS,             )
 OLUKAYODE ABRAHAM ADEWARA, JAMES A. ADKINS, )
 CANDACE MARIE ALANIS, EDWARD ALANIS,             )
 KARLA ALBERT, LUCIOUS H. ALEXANDER,              )
 PHILLIS JEAN ALEXANDER, MISTY R. ALEXANDER,      )
 JAMAAL MUATA ALI, LIONEL ROBERT ALKINBURGH,      )
 VERONICA R. ALLEN, TERRI ALLEN, DOUGLAS ALLEN, )
 KRISTOPHER ALLEN, MAURICE ALLEN, EARL ALLEN,     )
 RAQUEL ALMANZAR, CATHY LYNN ALTICE, ALPHONSO )
 LEROY ANDERSON, ANNIE LOUISE ANDERSON,           )
 WILLIAM ROBERT ANDERSON, JAMES ANDERSON,         )
 STANLEY ANDERSON C/O DIANA H. ANDERSON,          )
 MICHAEL L. ANDREWS, STEVEN ARTHUR                )
 ANDRZEJEWSKI, ERIC PERNELL ARMSTEAD, JOHN        )         CIVIL ACTION NO.
 CALVIN ARMSTRONG, EMILY AROWOSAYE, MAUREEN )               ________________
 YVETTE ASBERRY, THOMAS ASBRIDGE JR., RAPHAEL     )
 ISHMAEL ASHANTI, DENNIS S. ATES, JED AUGUR, JOE  )
 AUSTIN, LAMONT AUSTON, NEIL E. AVERY III,        )
 BRIJETTE J. AXTLE MERCER RAY, THOMAS DOUGLAS     )
 BABCOCK, ROGER BAEDKE, ANTHONY EDWARD            )
 BAILEY, DONNA BAILEY, DONALD JAY BAISDEN,        )
 CALVIN J. BAKER, MAUDIE M. BAKER, JASON BAKER,   )
 ARMANDO BALDERRAMA JR., JOHNNIE LEE BALLARD, )
 JOHN R. BALLARD JR., JOSEF JAMES BANKS, MARILYN )
 SUE BANNISTER, WILLIAM BARAUSKAS, LAWRENCE M. )
 BARBEL, DANIEL AARON BARKER CASE, RALPH L        )
 BARKLEY, OSCAR DAVID BARLOW, CINDY MARIE         )
 BARNES, FELINO BARNES, ROCKY DALE BARNETT,       )
  BRIAN CHRISTOPHER BARNEY, HERBERT C. BARRETT, )
 THOMAS ELBERT BATES, JEROME BATES, ROBERT        )
 EDWIN BATES JR., MARKETTA BATTLE, STEVEN BAXTER, )
 APRIL DAWN BEACH OSWALD, GILBERT R. BEANES,      )
 CHARLES E. BEASLEY, LAWRENCE P. BEATON,          )
 JULIEANN E. BEAULIEU, RICHARD DANIEL BEAVERS,    )
 LINDSAY KILGORE BELL, DOLLIE MARIE BELL,         )
 CAROLYN ROSEANNA BELL, MILO BELL, NATALIE BELL, )
 RAYMOND EARL BELL JR., DAVID CHARLES BELONGA, )
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 JOHN ALLEN BENDER, RONALD DOUGLAS BENNETT,       )
 MICHAEL L. BENNETT, JOHN THOMAS BENNETT,         )
 CHRISTY BENNETT, JAMES STEVE BENTON, TERRI       )
 BERLIN, STEVEN J. BERNS, DWIGHT L. BERRY, TAMMY )
 SHELTON BERRY, JAMES W. BERRY JR., HERBERT       )
 BERRY JR., ROBERT RUSSELL BERTRAM, RICKIE        )
 BETHEL, FORREST ALEXANDER BEVINEAU JR.,          )
 CYNTHIA MARIE BEZET, PHILIP JOHN BIRCH, DAVID    )
 EDWIN BISENIUS SR, SHARLENE A. BLACKWELL,        )
 ROBERT BLACKSON, RHODA (KATHY) KATHLEEN          )
 BLAIR, BARNARD ANGELO BLAKE, LACAMERON           )
 DE-AQUANITA BLAKE, BERTHA MAY BLANCHARD,         )
 ANDREA FAYE BLAND, VICTOR BLANKENSHIP, HENRY )
 BLAS, DENISE BLAYLOCK, CALVIN E. BLEDSOE,        )
 WILLIAM R. BLENNER, JAMES E. BLINN, WALTER BLOW, )
 ROBERT L. BLUM, JOSEPH S. BOCZAR, HENRY DARNELL )
 BODISON, DARRYL WAYNE BOGAN, KENNETH BOHN JR., )
 JAMES A BOLEN, JULE M. BOLER, JOHN WILLIAM       )
 BOLLES, JESSE BRUCE BOOKER, EARL EDWARD BOONE, )
 MICHAEL ROBERT BOONE, HEATHER LEDAWN             )
 BORDELON, MICHAEL V. BOSLEY, CRAIG VINCENT       )
 BOWENS, JAMES E. BOWERS, JAMES ANTHONY BOWLER )
 ATIBA BOWLES, JOSEPH BRYAN BOWLING, DUSTIN       )
 LEE BOWLING, FREDERICK C. BOYD, CHARLES          )
 EDWARD BOYD, JERRY WAYNE BOYD, EDWARD BOYD, )
 JOSEPH BOYKIN, GREGORY L BOZEMAN JR., JAMES      )
 BRADLEY, DEBORAH JEAN BRADY, PAUL BRANDNER, )
 JAMES MCGREGOR BRANDON, ALLEN CALVIN             )
 BRANDT, JOHN BRANG, GREGORY EUGENE BRANTLEY, )
 DIARICKAS BRANTLEY, STEPHEN R. BRAXTON,          )
 WILLIAM BRETTSCHNEIDER, GARY S BREWER,           )
 KISHAWNA BREWER, WENDY LEIGH BREWSTER,           )
 TONYA ANN BRIGGS, MICHELLE BRIGGS LINDSEY,       )
 KIMBERLY ANN BRISTOW, LINDA BRIZENDINE, STEVEN )
 J. BROOKS, MICHAEL ANTONIO BROWN, RONALD         )
 BERNARD BROWN, LANELLE H. BROWN, HERBERT         )
 HEWLISS BROWN, AARON JACOB BROWN, ALEXIS M.      )
 BROWN, MICHAEL THOMAS BROWN, PERRY BROWN,        )
 REBECA BROWN, VERNON E. BROWN JR., WILLIE        )
 LEWIS BROWN JR., CHRISTOPHER W. BROWN JR.,       )
 SUMMER BROWN, CHARLES BRUCE, SYDNEY MARIA        )
 BRUNO, KRISTIN L BRYANT, WILLIAM L. BRYANT,      )
 GAYLENA BUNCH, KENNETH CLEVELAND BRYANT SR, )
 STEWART DAVID BUCHANAN, ROBERT                   )
 LEE BUCKHANAN, CHRISTOPHER MICHAEL BUCKLIN, )
 PENNYE BULL BARRY, RICHARD NELSON BUNNELL,       )
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 ALLEN R. BURCHETT, LYNN BURCHETT EL, BENJAMIN )
 CHARLES BURGE, WILLIAM SERA BURGE, GERALDINE )
 BURKE, STACEY DEAN BURKLE, ANNA F. BURLEY,       )
 FRANK C, BURNS, ARNOLD LAVON BURNS, DAWN         )
 BURNS, ANTHONY T. BURRIS, THEARTHA BURT, JESSIE )
 LEE BURTON, APRIL R. BUTLER, ALBERT LEWIS BUTLER,)
 ROBERT NICHOLAS BUTLER, MATTHEW DEARL            )
 BUTRICK, MELVIN A. BUTTS, TIMOTHY EDWARD BUWA, )
 MARY ANNE CABALLERO, RONNIE CABINESS SR, LUZ )
 CABRERA-PEREZ, RAPHAEL CAFFEY, LINDA CAGE,       )
 MARVIN W. CAIN, MICHAEL CAIN, BOBBY CAIN,        )
 RAYMOND DALE CALDWELL, LEA M. CALHOUN,           )
 CHARLEE SUZANNE CALLAHAN, TIMOTHY E. CALLEN, )
 VERONICA A CAMMUCA, ANTHONY LUCIANO              )
 CAMMUCA, SCOTT ALAN CAMPBELL, TRACY YVETTE )
 CANNON, HAVALYN CELESTE CANTRELL, CLAUDIA        )
 CANTU, RICKY CARLSNESS, CHARLES EDWARD           )
 CARMICHAEL, SHATANYA RENEE CARMOUCHE, ROSE )
 LEE CARPENTER, MARY CARR, MALCOLM ROWLAND        )
 CARRINGTON, TERRY CHARLES CARROLL, RICHARD       )
 DOUGLAS CARROLL, HEZEKIAH CARROLL JR., ISSAC     )
 CARSWELL, LARRY CARTER, VICTOR CHARLES CARTER, )
 STEPHEN KENNETH CARTER, TERRELL WAYNE CARTER, )
 RONALD CARTER, PAUL MARVIN CASON, RODNEY         )
 CAVITT, THADDEUS A. CELESTINE, FREDERICK LASHAW )
 CELESTINE, CALVIN CECIL CHADWELL, EDWARD         )
 CHAMBERS, DALE THOMAS CHAMBERS C/O MARLENE )
 CHAMBERS, ISADORE CHAMBERS III, MICHAEL          )
 CHAMPA JR., MARK CHANDLEY, JENNIFER A. CHANEY, )
 JOE CHAPMAN, JOSEPH CHAPMAN, WILBURN LEE         )
 CHAPPELL, JOSHUA D CHARLES, HAROLD CHAVIS,       )
 KENNETH H. CHRISTGEN JR., RONALD LYNN CHRISTIAN, )
 VINCENT WORTH CHRISTIE, VERALEE CHUMLEY,         )
 WILLIAM CHURCH, LARRY LEE CLARK, KENDRICK        )
 MICHAEL CLARK, SCOTT SAFFORD CLARK, TWANNA       )
 SUE CLARK, SHARON CLARK, SARAH CLARK, ANDREW )
 L. CLARK JR., STEVEN P. CLAY, ANGELA L. CLIFTON, )
 ALVIN CLOUD, SIDNEY RONALD COAXUM, CLEOLAR       )
 COBB, DAVID COBURN, WILLIAM BOYD COCHRAN,        )
 WALTER ARTHUR COCHRANE JR., CHAD ROBERT          )
 COGGINS, LINDA COHILL (JOHNSON), SHEDRICK D.     )
 COLEMAN, ALEX COLEMAN, STACY DANNETTE            )
 COLLIER, KATHLEEN A. COLLINS, JULIE A. COLLINS,  )
 LUKE ANDREW COLLINS, ANTHONY GLENN COLLINS, )
 JOHN WEST COLLINS, RANSOM COLLINS, EDWARD L.     )
 COLSTON, JAMES COMBEST, WILLIE CONNER, WALTER )
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 CONWAY, MICHAEL BROWNLOW COOK, ARLANDA            )
 JEAN COOK, JUANDRA D. COOPER, HELEN KIMBERLY      )
 COOPER, ROBERT L. COOPER, TRAVIS COOPER, JAMES )
 ARTHUR COOPER SR, DAVIN L COPPEDGE, WAYNE         )
 CORNWELL, JUAN SERGIO CORREA, JOSEPH H. CORSEY, )
 JAMES STANTON CORUM SR, JONATHAN LYNN             )
 COSLOW, CHERYLE COSTNER, LIONELL C COTTON,        )
 TREMEL COTTON, GARY LYNN COUCH, CHRISTOPHER )
 COUNTS, SYLVIA A. COURNS, JEFFREY COURSON, MARY )
 ALICE COURTNEY, BRENDA COURTNEY, TERRENCE         )
 DANIEL COUSIN, MARK JEROME COWART, CHARLES        )
 DWIGHT COX, VERNITA COX, WILLIAM COX, ROBERT      )
 AARON CRABTREE, PERRY CRATES, JEANA CRAWFORD, )
 MARJORIE CROMARTIE, LAKEISHA CROSBY, STEVON       )
 EUGENE CROWDER, ANTONIO FERNANDES CRUZ JR.,       )
 GREGORY C. CRYSTAL, JOHNNY CULPEPPER,             )
 KIMBERLY MONIQUE CUMMINGS, BRIAN R.               )
 CUNNINGHAM, WILLIE FLOYD CUNNINGHAM JR.,          )
 BILL CURRIE, BARBARA LOUISE CURTIS, HOWARD        )
 SHANE CURTIS JR., MICHAEL CURTIS SR., PATRICIA E. )
 DABNEY, PATRICK DAERR, LYLE DEAN DAHLIN,          )
 RICHARD JAMES DAIGLE, JAMES ALBERT DAILEY JR.,    )
 NAZARETH DAIRIAN, JEANETTA DANIEL, CAROL          )
 MORROW DAVILMAN, JOSEPH ANDREW DAVIS, JOHN D. )
 DAVIS, MIA DANIELLE DAVIS, EDRIC DORNELL DAVIS, )
 JOHNNY RAY DAVIS, TIFFANYE SHIFFON DAVIS,         )
 AMANDA DAVIS, TERRON T. DAVIS, WALTER DAVIS JR., )
 RICHARD IRVING DAY, MATTIE B. DEAN, CHARLES       )
 RENCHER DEAR, MARVIN DEAN, JUSTIN CLIFTON         )
 DELANEY, DEBORAH LEE DEMBY, CAROLYN DEMEYER, )
 FRED JOSEPH DEPEW, THERESA L. DEPEW, ROBERT H. )
 DEVAULT, NELSON DIAZ, DERRICK DICKENS, PHILLIP L. )
 DICKERSON, BRIAN JASON DICKINSON, CHARLES         )
 WAYNE DILL JR., DANNY LEO DISHMAN, BYRON          )
 MARQUISE DIXON, ERNEST DIXON SR., NICOLE EMILY )
 DOLL, PAMELA YVONNE DOLLAR, GUY E DONA, OTIS      )
 WILLARD DONALDSON, RICHARD PHILIP DONOVAN,        )
 KENNETH MICHAEL DOPP, GINA DORADO, DAVID EARL )
 DORR, EDDIE LEE DORSEY, ALBERT DORSEY, HEATHER )
 MARIE DOTSON, RUSSELL WAYNE DOTSON, WILLIAM )
 KEITH DOUGLAS, WILLIAM JAY DOWNING, ROBERT        )
 DOWNUM, SHELBY RENAE DROHEN, ALBA D. DUBOIS, )
 DAVID NOAH DUBOIS, BRIAN KEITH DUGAS SR.,         )
 MAURICE L. DUNCAN, DIANA MARIE DUNCKLEE,          )
 REGINALD DUNGEE, SHUN DUNN, DEANNA DUNSON,        )
 LISA LORRAINE DURDEN, TODD JAMES DYER, DONNA )
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 EADEN, KITTY M. EASTMAN, TROY EUGENE              )
 EASTWOOD, NATHANIEL EASTWOOD JR, MARANDY          )
 EDWARDS, RODNEY LEE EHINGER, LEONARD M            )
 EHRHART, LEROY ELEBY, JAMES ELKINS, MARC          )
 ELLIOTT, LESLEY ELLIOTT, LAWRENCE E ELLIS,        )
 ROBERT E. ELLIS, RAYMOND EARL ELLIS, CONNIE       )
 RAE ELLIS, CECIL B. ELLIS III, DARRELL SHAY       )
 ELLISON, DAVEE R. ENGELHORN, NELSON D. ERTLE,     )
 JAYANNE SUE ERVIN, PHILIP D. ERWIN, KENNETH       )
 DWIGHT EVANS, DOUGLAS MARK EVANS,                 )
 DONALD CALVIN EVANS JR, SALENA FAIRCLOTH,         )
 JERRY E. FAISON, ALINA CHRISTINE FAJARDO,         )
 SUZANNE MARIE FALTER, NORRIS FANIEL, RONALD       )
 EDWARD FARLEY, JONATHAN ALLEN FARMER,             )
 ROGER FEIGENBAUM, DONNIE RAY FELL, RICK LEE       )
 FELLER, RENETTA B FELLS, JOHN T. FENLON, GEORGE )
 RICHARD FERGUSON, STEPHEN FERNALD, JOHN           )
 EDWARD FEY, MARY ELLEN FIELDS, MICHAEL RAY        )
 FILES, DEBBIE FISHER, ROSEMARY FITE, CHAUNCEY     )
 FITZPATRICK, DICK FIVECOAT, CARL GENE FLEENOR, )
 LEMMIE FLETCHER III, JARVIS WADE FLINT, RICK A.   )
 FLOCKER, SHERYL FOOTE JAGNEAUX, MARK EUGENE )
 FORBES, DENNIS EUGENE FORD, BOBBIE FLEMINGS       )
 FORD, CORNELL FORD, CLARENCE FORMAN, ARTHUR H. )
 FORSMAN, DEBORAH FOSTER, LA TOYIA BELL            )
 FOWLER, ARNOLD F. FOWLKES, ARCHIE FOY, JERREL     )
 LEVON FRANKLIN, MICKEY FRANKS, VALERIE DENISE )
 FRAZIER, FRANK JAMES FRAZIER, WILLIAM GEORGE      )
 FREDERICK, BRENDA FREDERICK, MONTGOMERY D.        )
 FREEMAN, RANDY LEE FREEMAN, SAJENIA ESTERICA )
 FRENCH, FAITH LEANDRA FROST HUBBARD, JASON        )
 RAY FRYE, DANIEL CURTIS FULLER, WILLIAM FULLER, )
 JONI JANE FURST, BRANDEN FUSCH, HAROLD DEAN       )
 FUSSELL JR., JOSEPH DAVID FUTRELL, CHESTER GABEL )
 C/O RIGIRI GABEL, QUITERIS GAITOR, TRAHNIECEIA    )
 JOHNALE GALLIEN, GERALD D. GARRETT, TORI J.       )
 GARRETT, CHRISTINE ALISON GARWOOD, HERBERT        )
 GARY, TIMOTHY CARROLL GASKINS, TIMOTHY            )
 KRELVIN GASKINS SR, ANTHONY T. GATEWOOD,          )
 KENNETH W. GATEWOOD SR., GERALD CLAY GAUNT,       )
 SHERRY GAY, MELANIE ALICIA GEBICKE,               )
 ALVERNELL GEE, TERRY S. GENNERS, MONTE L.         )
 GENTRY SR, JAMIE MARIE GEORGE, GREGORY            )
 GHORLEY, ANGELOS THEODOROU GIAFFES, CHRISTIAN )
 JAMES GIBSON, LINDA RAE GIBSON, NORMAN DALE       )
 GIGER, EDDIE GILMORE JR., ANTIQUE P GIPSON, ROBERT)
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 GIPSON, BOBBIE EUGENE GLENN, CAMERON HERSCHEL )
 GLENN, LARRY LALMONT GLENN, SHANNON CANDY      )
 GLENN-PHY, JOYCELYN ANN GLOVER, WILLIAM FRED )
 GLOVER, TAMMY LOUISE GOODMAN, STEPHEN          )
 GOODMAN III, JILL GOODNIGHT, DAMIEN GOODS,     )
 RANDOLPH GOODWIN, PAUL JOHN GORELIK, WILLIAM )
 PAUL GOULD, GERALD GOWANS, DONNIE JOE          )
 GRAHAM, PAUL GRANT, THERESA GRANT, ZELPHAIR    )
 GRANT, ANGELIA GRAHAM GRASTY, JOHN RICHARD     )
 GRAVES, MICHAEL C. GREEN, HORACE JAMAR GREEN, )
 LEROY NATHAN GREEN, FLOYD REDIO GREEN, TINA    )
 GREEN, VICTOR GREEN, RANDY CHARLES GREENE,     )
 JASON ALAN GREER, LAWANA GRIER, ANTONIO        )
 GRIFFIN, GROVER ALLEN GRIFFITH, VICTOR CLARK   )
 GRIFFITH, EDDIE GRIGGS, JANIS ANN GRIMES       )
 SULLIVAN, GLORIA GRIMSLEY, SAMANTHA LYNN       )
 GRIZZARD, CHRISTOPHER RICHARD GROARK, LORA     )
 GROGAN, CHARLES SCOTT GUEHO, VICKI GUELLALI,   )
 CHRISTOPHER GEOFF GUILFORD, MSONTHI GUILLORY, )
 LAURA JEAN GULBRONSON, MICHAEL RICHARD         )
 GUSZAK, DWAYNE A. HAAS, CHARLES T. HAHN, KEITH )
 DEWAYNE HALL, SALLIE ELAINE HALL, BILLY RAY    )
 HALL, JOHN ROBERT HALL, COREY TREMELL HALL,    )
 KARIN HALL, ROGER HALL, CHARLES WILLIAM        )
 HALL III, MAXWELL HARDOBY, BRENDA HALL OLSON, )
 CHARLES HOWARD HAMBLET, RANDY DARWIN           )
 HAMBY, JOHN HAMILTON, RICKY WAYNE HANAWAY, )
 KENNETH JACK HANCOCK, FREDDIE HANDSPIKE,       )
 DAVID ALLEN HANKS, MARSHALL DAVID HANKS,       )
 BRENDA JOY HANKS, ROOSEVELT HARDAWAY,          )
 SHARON HARDEN, JULIA PATRICE HARDRICT, SHERMAN)
 L HARGROVE, DALE HARKER C/O HEATHER AND SETH )
 HARKER, PHILIP G. HARLOW, MELISSA HARMON,      )
 ARTHUR JOE HARMON JR., DONALD R. HARPER SR.,   )
 DANIEL LEE HARRINGTON, RANDY ALAN HARRIS,      )
 DEXTER WAYNE HARRIS, LUVENIA HARRIS, JAMES     )
 HARRIS, LARRY D. HARRISON, PHILLIP HARRISON,   )
 DERRICK HARRISON, VONDA G. HARSTAD, COLET      )
 HART, RICHARD MARK HASTON, LINDA S. HAUGNESS, )
 RANDY D. HAWKINS, CHARLES MICHAEL HAYCOCK,     )
 KEITH DONALD HAYES, BETTY HAYES, JAMES T.      )
 HEHMAN, JAY ALLEN HEINIG, ROBERT W. HEISER,    )
 KENNETH DARRNELL HELMS, BELINDA HENDERSON,     )
 JOE CARD HENDREN II, IDA MAE HENDRICKS, SOLON  )
 HENDRICKS, LISA DENISE HENRY, NELSON ROGER     )
 HERBERT, EARL HERMAN, KENNETH HESTER SR., WADE )
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 ALLEN HEYMING, MATTHEW HEYWARD, LEWIS MEADE )
 HIATT, DARIUS MICHAEL HICKMAN, AGGLE K. HICKS, )
 RAFALAR HIGHTOWER, WILLIAM HIGHTOWER JR.,           )
 JAMES C HILL, MALCOLM DUBOIS HILL, ARONDA           )
 KATHERLINA HILL, DARRYL TREVELL HILL, JEFFREY       )
 HILL, LARRY JOE HILLARD, KEITH HILLARY, FREDERIC )
 J. HILLIE, RALPH H. HINTON JR., KENNETH WAYNE       )
 HODGE C/O AMY HODGE, BRUCE F. HODGES, DAVID         )
 LARRY HODGES, MARK ROBERT HODGES, MELVA             )
 HODGES, ROBERT BRANDON HOFFMAN SR., DONALD          )
 RAY HOFFSTATTER, LUANN M HOGANSON, TERRY            )
 DEAN HOLLAND, WILLIAM MICHAEL HOLLICK,              )
 REGINALD HOLLIS, AARON HOLMES, RICHARD HOLMES, )
 GLADYS G. HOLT, LINDA HOLTER, RORY LEE HOMAN, )
 RANDOLPH R. HONESTY, WARKEDRA LACHELLE HOOD, )
 NELSON HOOKER, STACY LYNN HORAN, HELEN              )
 MICHELE HORN, ARTHUR R. HORNE, JEANETTE             )
 HORTON, MICKEY HORTON, GARY HOSKINS, SHARON )
 HOUSE-THOMAS, SHIRLEY ANN HOWARD, WILLIAM H. )
 HOWARD, WILLIAM HAROLD HOWARD, ALFRED JOHN )
 HOWARD JR., CHARLES HOWARD JR, LLANA JEAN           )
 HOWEY GAY, CHARLES KEITH HUBBELL, CORRIE LEE )
 HUBER, DONNIE WAYNE HUDGINS,
 CHARLES HUNT JR., JERRY WAYNE HUNTER, STEPHEN )
 CRAIG HUNTER, KAREN M. HUNTER, STEVEN               )
 WILLIAM HURLEY, ANDREA NICOLE HURST, ETHEL          )
 MAE HUSSER, NORMAN HUTCHISON, RAY HUX,              )
 SYLVESTER HYLTON, EUGENE HYNOK, NIZAR SAID          )
 IDEIS, JOSEPH PETER IENNA, MEARLE JAMES INMAN,      )
 JASPER IRONCLOUD, TIMOTHY ROGER ISAAC, DAVID        )
 MARK ISBELL, DEBBIE JACKSON, THERESA JACKSON,       )
 GEORGE DALE JACKSON, TRACY BROWN JACKSON,           )
 LYNDA DICKSON JACKSON, JUDITH ELAINE JACKSON, )
 VONDETTA ELAINE JACKSON, JAMES ENNIS JACKSON, )
 ARENDA FAYE JACKSON, JUANITA LYNN JACKSON,          )
 BRIAN ORLANDO JACKSON, WAYNE P. JACKSON,            )
 DENNIS PAUL JACKSON, KENNETH R. JACKSON,            )
 ROSALIND SHEA JACKSON, HOUSTON JACKSON,             )
 VICKI JACKSON, DEXTER JACKSON, CLINTON WESLEY )
 JACKSON III, BARRY JACOB, BRADLEY A JACOBS,         )
 BILLY D. JACOBS, FRANK JACOBS JR., JULIUS A. JAMES, )
 BARBARA JAMES, CHARLES DONALD JAMISON,              )
 JOSEPH MICHAEL JANEY, NATHAN JENKINS III, WILEY )
 H. JENKINS JR., LEONARD JENKINS JR., EDWARD ALEX )
 JENSEN, SANNA GRAYCE JENSEN, WILLIAM L. JERVAY, )
 OLIVER THOMAS JESSUP JR, NELLY JIMENEZ-JERNIGAN, )
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 DARNA FAYE JOHNSON, EDWARD BERNARD JOHNSON, )
 RICHARD EDWARD JOHNSON, JENNIFER ELIZABETH         )
 JOHNSON, BROSHANDA K. JOHNSON, CHIAQUILLA M        )
 JOHNSON, JENNIFER O'NEIL JOHNSON, MABLE            )
 THOMAS JOHNSON, ALTON W. JOHNSON, CATHY            )
 JOHNSON, EBONY JOHNSON, TERESA JOHNSON,            )
 SILVESTER JOHNSON, ANDERSON JOHNSON JR., GEORGE )
 KELLY JOHNSTON JR, CHERRISH JOINER, JOHN MARVIN )
 JONES, WILLIAM ALAN JONES, JOHN ARTHUR JONES,      )
 MICHAEL DOUGLAS JONES, LAZARO HERNANDEZ            )
 JONES, SHERRY SCOTT JONES, RICHARD WAYNE JONES, )
 JOSEPH JONES, MARK JONES, ANTHONY JONES,           )
 EDWARD JONES, KENNETH JONES, ANDREW JONES,         )
 HAROLD A JONES JR., RUFUS JONES JR., WILLIE JONES, )
 WINTER JONES-JACKSON, AMBER NICHOLE JORND,         )
 MARY LEE JOSEPH, MARK A JOYCE, KIMBERLY JOYCE, )
 DELFINA JUAREZ, SHELDON NORRIS KANKOVSKY,          )
 PHILIP KARIUKI, KATHY KARSTENS, SHARON S. KAST, )
 TONYA SUE KEENEY, CHARLES ARTHUR KEERAN,           )
 FRANCIS GERARD KELLER, PATRICIA KELLEY, EDWARD )
 JOHN KELTGEN, RONALD EUGENE KEMPER, TRACY          )
 KENDRICK, JERALD KENISON, JAMES D. KENNEDY,        )
 REGINA INEZ KENNEDY, JAMES KEY, BECKY KEYIM,       )
 JOSEPH KIBODEAUX, KATLYNN KIBODEAUX, RONALD )
 KIMBROUGH, SCOTTIE KINDER, DAVID KINDER,           )
 RAYMOND KINDERMANN, TIWANDA GAIL KING, ROSE )
 M. KING, PATRICIA KING, RUSSELL KIRKMAN, PATRICK )
 LEE KIRKPATRICK, CHRISTY KITCH, KENNETH            )
 KITCHENS, CHRISTINE M. KLEIN, DON WILLIAM KLINE, )
 RICHARD KLINGELE, AMELIA MOLLY KLINK, SCOTT        )
 ANTHONY KNEER, LILLIE KNIGHTEN, CRAIG KNOX,        )
 PATRICIA A. KRAMER, JEFFREY M KRAMER, NEPHI        )
 ALEXANDER KREI, JAMES MICHAEL KROGSRUD,            )
 CLIFTON WILLIAM KUHN, ROBERT M. KUZEL, DALE        )
 RAYMOND LA HAIE, MICHAEL ANTHONY LAFAYETTE, )
 ALENA LAGGNER, NANCY LOUISE LAMBETH, DOROTHY )
 J. LAMBING, GARY G LAMLEIN, MARIAN G. LANCASTER, )
 CHARLES A. LANDERS JR., LLOYD LOVE LANGFORD JR., )
 FRANK LANGSTON, CHARLES DANIEL LANIER, MONTE )
 BERNELL LARSEN, ROBERT JAY LATHROP, LATISHA        )
 LATIMER, KA LOK LAU, KAYTLYN M. LAUMANN,           )
 KAREEM A. LAWRENCE, JERRY M. LAWRENCE,             )
 THOMAS DUANE LAWSON, RALPH WAYNE                   )
 LAYMAN JR., GEORGE MARION LEACH JR., BENNIE        )
 LEDFORD, DONNA LEE, NAJAH LEE, WILLIAM ERVIN       )
 LEE JR, JEREMY EUGENE LEFFINGWELL, MYRNA           )
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 RENEE LEMKE, JOHN LETTENEY, FREDERICK              )
 CHARLES LEVEE, MARIO LYDELL LEWIS, SHARETA         )
 LYNETTE LEWIS, APRIL LEWIS, ROBERT LEXIE, LEE      )
 JERRELL LIGHTFORD, MELVIN LINDHOLM, THEODORE )
 LINDLEY, DAVID B. LINDSETH, CATHY LYNN             )
 LINDSEY, THOMAS JAMES LINDSEY JR, DARRYL           )
 LINDSEY SR, ALVIN E. LINTON SR., MICHAEL LISKOOKA, )
 JOHN L. LITTLE, BOOKER THOMAS LITTLE JR, CONNIE JO)
 LITZAU, LINDA DENISE LIVELY, DENISE LLEWELLYN- )
 HUNTER, THOMAS LOAN, RICHARD THOMAS                )
 LOBOSCHEFSKI, JAMES MATTHEW LOCKE, JOHNNY          )
 EDWARD LOCKLEAR, LISA ELLEN LOCKLEAR, JIMMY        )
 LEE LOGAN, STEPHANIE LASHUN LONG, PATRICK LONG, )
 NANCY LOSTON, KELLY L. LOUIS, PATRICIA A. LOURY, )
  DA'SHAME TANNA LOVE, CHUANISE LOVING, JOHN W. )
 LOWERY, GEORGE WILLIE LOWERY, KATHERINE            )
 LUCAS, TERRY LUCAS, DIANE LUCIOUS, JEANENE A       )
 LUDWIG, ROBERT LUMPKIN, JERRY L. LUNSFORD,         )
 DORSEY WAYNE LYON, VERA ELAINE LYONS, MYROM )
 GENE MACK, CHARLES LEWIS MACKE, LEZEREK            )
 MACON SR, EBONI MADISON, JOHN LESLIE MALONE,       )
 MARCUS MALONE, JENNIFER MANN, LEONARD RAY          )
 MANN JR, KEVIN M. MANSON, MARYANNE                 )
 MARCELLAIS, GEORGE S MARCUM, BENJAMIN MARCUS, )
 GARY MARSHALL, JOSEPH B. MARSHALL JR., CHARLES )
 EDWARD MARTIN, LARRY PAUL MARTIN, DONALD RAY )
 MARTIN, ALEXIS T. MARTIN, BERNELL MARTIN,          )
 LAWRENCE GENE MARTINEZ, DIANE H. MARTINEZ,         )
 JOHN STEVEN MARTINEZ, MARK ANDREW MATHISON, )
 CAROLYN ANN MATTHEWS, KENNETH MATTI JR,            )
 LAURA LEE MAXWELL, CHRISTOPHER P MAYFIELD,         )
 JARRID H. MAYNARD, JOHNNY ROBERT MAYNE, ALESA )
 MAYS, FELIX MCAFEE JR., D'ELLIS RICARDO            )
 MCCAMMON, JANICE MCCASKEY, WILLIAM K.              )
 MCCARTY, LISA R. MCCLAIN, MICHAEL JOSHUA           )
 MCCLOUD, KYLE MCCORMICK, CHARLES R.                )
 MCCREARY JR., TERANCE E MCCULLOUGH, MICHAEL        )
 JOSEPH MCCURDY, DONALD E. MCDANIEL, TONY           )
 ORLANDA MCDANIEL, YVETTA MCDONALD, JENNIFER )
 MCDONALD-LAWRENCE, LORI JEAN MCDONOUGH,            )
 KAREN LOUISE MCFADDEN, DARRELL LEE                 )
 MCFADDEN JR., ALAN MCGAHEY, RODNEY MCGEE,          )
 JUDY ANN MCGHEE, LARRY DEAN MCGILL, DEBRA          )
 MCGOUGH, CYNTHIA KAY MCGOWAN, CALDONIA             )
 MCGRAW, DEBRA LYNNE MCGUIRE, RAYMOND               )
 MCINTYRE JR., NICOLE MCKAY, EVERETT A              )
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MCKENZIE, STEPHANIE DEANN MCKINNEY, CHARLES )
MCLAIN, LEVI MCLAURIN, LOREN DAVID MCNAY,     )
MARVIN LYNN MCNEAL, ROBERT E. MEAD, JEANNETTE )
MELTON, SHEMIKA MENDENHALL, JEWELL PETER      )
MENDES, MARK MENDIOLA, DORA AMALIA MENDOZA, )
NELLIE LINDA MESSER, MICHAEL TODD MESSER,     )
HUBERT WENDALL MIKELS, TRACY LYNN MILES       )
BALL, ERNEST CARLTON MILLEN, CLARENCE E       )
MILLER, ROYCE EVERTS MILLER, TIMOTHY          )
JAMES MILLER, THEODORE L. MILLER, JOSEPH      )
LEE MILLER, STEVEN MILLER, NICHOLAS MILLER,   )
STEVEN MILLER, TERRY MILLER, IRVIN MILLER,    )
LEWIS MILLER, SANDRA THERESA MILLER CARTER,   )
JOHNNY LEE MILLER SR, DEAN LESTER MILLWARD,   )
TIFFANY MILSTEAD, WALTER J. MINK, LIZA        )
MITCHELL, LINDEL MITCHELL, CHRISTOPHER JOSEPH )
MOEBES, IMRAN MOHIDDIN, WILLIAM GEORGE        )
MOHR, FREDRICK MOLDEN, TODD ANTHONY MOLO,     )
PEDRO LUIS MONTALVO, ROBERT MONTEZ, LINDA N   )
MONTGOMERY, JOYCE M. MONTY, MYRNA ANNETTE     )
MOODY, DAVID T MOODY, SHARON WHITTEN          )
MOODY, WILLIE E MOORE, JOHNNIE L. MOORE,      )
WILLIAM RICHARD MOORE, FRASHER MOORE, JOHN    )
MOORE JR., HELEN MORGAN, JAMES ALLEN MORGAN, )
JAMES SHELBY MORGAN, MICHAEL MORNARD, MARK S. )
MORRIS, DOUGLAS FRANCIS MORRISON, MARGUERITE )
MORROW, CAROLINE SUE MOSLEY, JAN LEA MOSS,    )
KENNETH MOTEN, CHRISTOPHER LEE MOUNTS, GEORGE )
M. MUELLER, CRYSTAL ANN MULLINS, MICHAEL      )
ROBERT MUNDELLA SR, SUSAN MAY MUNROE,         )
ANTONIO DEJOHN MURCHISON, DAVID S. MURPHY,    )
LOUIS MURPHY, CALVIN EDWARD MURRAY, JASON     )
MYERS, JAMES PATRICK NAWROCKI, VICTORIA       )
NAYLOR, LAGENA BEATRICRE NEAL, DONALD NEELEY, )
MARY NEELY, STEVE CRAIG NEIFFER, KENNETH      )
EDWARD NELSON, DANIEL EDWARD NELSON, EDGAR J. )
NELSON, JAMIE KAY NELSON, ROGER NELSON,       )
ANTHONY ERWIN NERO, WILLIAM DWAYNE NEWBERRY )
JR, BILLY WAYNE NEWSOM, JEREMY CHANCE NEWTON, )
DAVID WAYNE NEWTON, PERCY LEE NICHOLS, PAUL   )
NICHOLS, ROBERT NIEBUHR, SONYA NOBLE, JERRY   )
NOEL, IGOR J. NOR, CLARE NATHAN NORDAHL,      )
PAMELA MARIE SONNIER NORMAN, DAVID LAMAR      )
NORTH, SHANNON RAMON NORTHERN, MELVIN E.      )
NOTREE, DARWIN D. NUSS C/O LISA WEBER, KEVIN  )
MONROE OAKES, FRANK HOUSTON O'CONOR,          )
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CHRISTINA MARIE OFFICER, NWORA C. OKEKE,           )
VICTORIA OLIVEIRA, MARIA GUADALUPE OLVERA,         )
CHRISTOPHER O'NEAL, PATRICK LEE OSBORNE,           )
ARTIE L. OTEY, JAMES EDWARD OTTAWAY JR, JOHN       )
MCKENZIE OTTO, FRANK LEWIS OVERSTREET JR.,         )
RANDALL SCOTT OWENS, CHARLES ERIC PACE,            )
FREDRICK E. PALMER, DENNIS PANFIL, ROGER LEE       )
PANZER, CARL DON PARK, JAMES GILL PARKER, DENISE )
ANN PARKER, CALVIN D. PARNELL, KEITH EDWARD        )
PARRISH, BRENDA JOYCE PASCHAL, MOSES               )
PASSMORE JR, ANDRE PASTER SR, TONY E. PATMON,      )
LARRY BERNARD PATTERSON, JEREMY DESHAN             )
PATTERSON, STEVEN G. PATTERSON, CHARLES            )
NORRIES PATTERSON, KENNY WILLIAM PAYNE JR.,        )
JAMES PEACOCK, ELLIS L. PEAL, BRENDA PECK, GARY )
TIMOTHY PELLEK, BENNIE PENDERGRASS, KENNETH        )
LEE PENNINGTON, CYNTHIA PENN-LANGE, GEORGE         )
PATRICK PEPSIN, WILLIAM DENNIS PERDUE, ROBERT      )
PERDUE, HENRY M. PEREZ, FLORENCE PERKINS, MARK )
RICHARD PEROUTKA, JAMES MONROE PERRY, EARL         )
RAY PERRY, GODFREY STEPHEN PETERKIN, MARTIN        )
PETERSON, RALPH PETTIFORD, GEORGE EMANUEL          )
PETTUS, GARY T. PHARES, PATRICIA DIANE PHILLIPS,   )
TRACY PHIPPS, KENNETH D PHOENIX, DAVID JAMES       )
PILON, PHILIP GARY PIRKLE, ALEXANDER B. PITRE SR., )
LAURA RENE PITTS, JOHN R. PLENDA, RAYMOND          )
LYNN POFFENBERGER, WILLIAM POLK JR., CORY          )
ANTOINE POOLE, PAMELA POOLE, CHARLENE POOLE, )
ANTHONY NICHOLS POPP, GLENN W. PORTER, PHILLIP )
PORTER C/O LINDA PORTER, TAMARA MECCA POWE,        )
ANDREW POWELL JR, BRIAN A. PRATER, YUVETTA         )
VERAL PRATHER, VAN E. PRESSLEY, STEWART E.         )
PRICE, NATISHA UGONDIA PRICE, DARREN PRICE,        )
ROYLENE PRICE, BRUCE PRIESSNITZ, DARIUS A.         )
PRINCE, JEFFREY S. PULLEY, KEITH PULLIAM, LESLIE   )
A. PYSZ, JAMES QUENZER, CONNIE RABBERS, HAROLD )
RACHAL, SHERRY LEE RAMSBURG, JOHN FRANK            )
RAND, JOHN R. RANKIN, JON M. RASPBERRY, ROBERT     )
RATHBURN, JOSEPH M RAY, ERNEST BERT REAVES,        )
ERNEST REECE, JOYCE A REED, CHARLES REED,          )
BYRON D REESE, CHARLES REESE, CHARLEE SUGGS        )
REEVES, KEVIN ERNEST REICHERT, KENNETH             )
REMBERT, NORMAN REMBERT, SHARON D. RENTZ,          )
CRAIG CLAYTON REPP, KAREN REPP, DONNA KAY          )
RESTIVO, HERBERT THOMAS REYNOLDS, LLOYD JOHN )
RHYMER, JONTUE T. RICE, DOUGLAS EUGENE             )
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RICHARDS, SARAH MICHELLE RICHARDSON, ALBERT      )
LEE RICHARDSON, GEORGE ALLEN RICHTER,            )
BARRY NEAL RICHTER, JIMMY CORALL RICKS,          )
ELIZABETH GWEN RIDDELL, JOYCE RENEE RIEBE,       )
RICHARD DAVID RIFFE, ANGERIC MITCHELL RIVERS,    )
ALAN K. ROBERTS, TERRY GLENN ROBERTS JR.,        )
FRANK W. ROBERTS JR., LORCE JERALD ROBERTSON,    )
PATRICIA COOLEY ROBINSON, CHERYL DAINE           )
ROBINSON, JAMES EUGENE ROBINSON, ADA             )
PAULINE ROBINSON, JOSEPH STEPHEN ROBINSON,       )
DWAYNE ROBINSON, GERARD FRANCIS ROBINSON SR., )
LILLIE ROBINSON-ROBERTS, BARTOLO LOPEZ           )
RODRIGUEZ, MIGUEL M. RODRIGUEZ JR, JAMES D. ROE, )
CRAIG S. ROGERS, EARNEST DERON ROLLER,           )
WILLIAM WAYNE ROOKE, CHRISTOPHER LEON ROPER, )
BRADLEY WAYNE ROSE, SUNSHINE MARIE               )
ROSENQUIST, BRANDON SCOTT ROTENBERRY, CARLA )
ROUSE, SHANAZ CHAMBERS ROY, TAMMY                )
RUBENSTAHL, JOEY RUBENSTAHL, JANET A. RUFFIN,    )
DOYLE W. RUNYAN, WILLIAM MICHAEL RUSSELL,        )
CHARLES RUSSELL JR, MARGRET ANN RUTLEDGE,        )
WILLIAM ARTHUR RYE, MALINDA MARIE SAHM,          )
DARRICK L. SALLEY, GUY SALMON, ROXANN SAM,       )
WAYNE K. SANBORN, DOROTEO LUIS SANCHEZ,          )
BLANCHE SANCHEZ, JOSEPH T SANDGREN, GREGORY )
SARGENT, WILLIAM KEITH SARRATT, VERNON           )
HOWARD SATTERFIELD, JOAN KAYE SAUNDERS,          )
MARY JO SAWYERS, JASON SCHAEFER, ROBERT          )
SCHAMBERGER, ELIZABETH ANN SCHISSLER, LARRY      )
DEAN SCHMIDT, CLIFFORD GEORGE SCHUDAR, MARTIN )
SCHWARTZ, DONALD WAYNE SCOTT, THOMAS SCOTT, )
PATRICIA SCREVEN, ZOE MARIE SCUDDER, GREGORY L. )
SEE, DONALD R SELBY, BARBARA L. SENGSTOCK,       )
PATRICIA FAYE SERVER-BAKER, FRANK CLIFFORD       )
SHADLEY, SID HAMIN SHAKIR, JENNIFER M. SHANKS,   )
ABDULLAHI SHARIFSAHAL, TITUS MITCHELL SHARP,     )
TRESA RENEE SHARPE, JO ANN SHAUGHNESSY,          )
CYNTHIA JEAN SHELTON, JANICE L. SHEPARD, JERRY   )
MAIDEN SHRADER II, MELISSA ANN SHULTZ, KASON     )
DEMARCO SIAS, TAMBATHA SABRINA SIAS, JAMES       )
SILAS III, MICHELLE LEIGH SIMMONS, CALVIN SIMMS, )
LETASHA SIMPSON, LARRY I. SIMS, COURTNEY SIMS,   )
JOHN CARL SJUGGERUD, VERNON EVERETT SKEENS,      )
GARY CLINTON SKELTON, LENORA OZELLA VERNON       )
SMALLWOOD, BLANCHE LOU SMARR, LEON W. SMITH, )
JENNIFER A. SMITH, CHRISTOPHER BERNARD SMITH,    )
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MICHAEL BRUCE SMITH, ROGER DALE SMITH, LISA       )
DARLENE SMITH, SUSAN DIANA P. SMITH, KARL         )
EDWARD SMITH, ALVIN L. SMITH, ARLANDA SMITH,      )
CHRISTOPHER LEE SMITH, LAURA LYNN SMITH,          )
ROBERT M. SMITH, DAVID RANDALL SMITH, JOSEPH T. )
SMITH, MICHAEL W. SMITH, CHRISTOPHER SMITH,       )
RUDOLPH SMITH, DOLPH SMITH, DEVAN M SMITH SR,     )
TRINA SMITH-THOMAS, RICKY RAY SMITT, MABEL        )
PUGH SNEAD, DAVID C. SNEATH, PATRICIA A. SNYDER, )
ALAN SNYDER, KIM SNYDER, EDWARD STEVEN            )
SOBCZAK, GERALDINE W SOUTHALL, DORETHA            )
SPARROW, CASSANDRA ANN SPEARS, DONALD G.          )
SPENCER, ALEXANDRIA PATRICE SPENCER, TAMEKA       )
SPENCER, JEROLD PAT SPIVEY, KIRK WILSON SPOHN,    )
BOBBY RAY STAMPS,EDWINA STAMPS, TRACY LEE         )
STANLEY, SHANNON M. STANLEY, ANTHONY              )
STANLEY, RORICA LEMAR STANTON, ROLAND STAPLES )
JR, RANDALL KENT STARLING, DANIEL L. STEELE, KYLE )
ANTHONY STEIN, CHARLES E STEPTOE, ALBERT          )
MICHAEL STERRETT C/O BRANDON STERRETT,            )
NICOLE MARIE STEVENS, DIANE STEVENS, VALORIE      )
REA STEVENS HAGLUND, DWANNA ANNETTE               )
STEVENSON, DONALD CHARLES STEVENSON,              )
MATTHEW D STEVENSON, JIMMY D STEVENSON            )
(FORMERLY JORDAN), CURTIS E. STEWART, MARTHA      )
GAIL STEWART-MARTIN, SHAWN M. STONE, JOHN         )
EDWARD STRICKLAND, JARED STUBBLEFIELD, RONALD )
VINCET SUKAUSKAS, JOSEPH LOWELL SVARE, BILLY      )
RAY SWEARINGEN, WACINIA LANORE SWOPES,            )
CHARLES EDWARD SZEKULA, CASUAL TABRON,            )
WILLIAM TANT, GILBERT J. TAUSCHER JR, GREGORY     )
ANGELO TAYLOR, RUBY BRYANT TAYLOR, SHERMAN )
LAMAR TAYLOR, DAWAYNE LEVERN TAYLOR,              )
MARGARET PAMELA IRENE TAYLOR, MARCIA RENEE        )
TAYLOR, BRENDA TAYLOR, GEORGE W. TAYLOR JR.,      )
RAYMOND FREDRICK TEETER JR, BARRY DEAN            )
TEMPLETON, JACQUELINE PAULA TERRAZAS BARTER, )
MARC THEN, GUST ANDREW THEOPULOS, DAVID           )
THIGPEN, AMANDA JOY THOMAS, RALPH THOMAS,         )
JAMES THOMAS, TAMMY THOMAS, BENITA THOMAS,        )
REGINALD A. THOMAS JR, GEORGE PAUL THOMAS JR., )
LARRY THOMAS JR., JAMES THOMASON, CHARLES F.      )
THOMPSON, MARY JO THOMPSON, COREY M.              )
THOMPSON, ANTHONY THOMPSON, TAMMY THURSTON, )
BESSIE MAE TIDWELL, TODD ALAN TIMPERLEY, JAMI )
TJELDE, PHYLLIS TOLBERT, RONALD L. TOROK,         )
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JEFFERIE R. TOWNSEND, JOSEPH TREECE, DWAYNE     )
TRINKS SR, SARI JANE TRUITT, DELDRICK JEROD     )
TUCKER, JESSICA TUCKER, FREDDIE TUFF, DARRYL    )
GILL TURNER, CHARLES HENRY TURNER, WILLIE L.    )
TURNER, WILLIAM MICHAEL TURNER, JOSHUA STEVEN )
TURNER, CHAD TURNER, ARTHUR TURNER, DARYL       )
WAYNE TURNER SR., PHYLLIS TWYMAN, BRIAN TYLER, )
BETTY LUE TYSON, JOHN M. UHLER IV, JESSICA      )
UNDERDOWN, JOUNDRIA NICOLE UNDERWOOD,           )
CHARLES R UTLEY, PEARLIE VAILES, NICHOLAS SCOTT )
VALDIVIA, JAMES K. VALLEY, RICHARD S VAN ALLEN, )
TERRY ELLIS VAN BUSKIRK, WILLIAM VAN REESE,     )
DOUGLAS WAYNE VAN SCOIK, GARY ALLEN             )
VANDERVORT, DAVID O VLAANDEREN, DEREK RYAN )
VLIEGENTHART, DOUGLAS J. VONBERG, CHRISTINE     )
ELIZABETH VOWELL, RONNIE WADDELL, MARSTELLA )
ANN WADE, ALTHEA MARIE WAFFORD, CURTIS          )
DARNELL WAGNER, TRAVIS G. WAGNER, JAMES A.      )
WAHL, LAWRENCE DAMON WALKER, SHANA PATRILLA )
WALKER, JACQUELLINE WALKER, CHARLA WALKER,      )
FRANCIS M. WALKER IV, JAMES R. WALL, JIMMY LEE  )
WALLACE, TASHINA WALLACE, PATRICK RYAN          )
WALTERS, CHERLYANN WARD, BARRY LANE WARFEL, )
JEROME WARNER, LATARA WARRIOR, TAKESHA N        )
WASHINGTON, ROBERT EDGAR WATERS, KEVIN          )
WATERS, ANGELA WATERSON, ELIZABETH MARIE        )
WATERSTREET STULL, CAREY WATKINS, RHONDA        )
WATKINS, JOEL A WATLEY, LOUISE W. WATSON,       )
EDWARD WATSON, DAPHNEA WATSON, JAMES            )
WATSON, ROBERT A. WEBB, MARLO WEBSTER,          )
JOHN R. WEIGEL, STEPHANIE LYNNE WELDY,          )
MONTE L WHEATON, TERAY WHISBY, DEBRA ANN        )
WHISENANT, JAMES P. WHITCHER, ENULDRUS WHITE, )
CHARLES WHITE, GEORGE WHITE JR, NATHALIE WHITE )
VIGNE, JAMES WILLIAM WHITLOCK, CARLISLE         )
MICHAEL WICK, LATOYA RENEE WILCOX, DEXTER       )
WILDE, CHAD ALLAN WILGUS, MARTIN LEE WILKINS, )
LARRY GENE WILKINSON, ROGER EDWARD WILL,        )
CURTIS L. WILLHITE, TODD C. WILLIAMS, CHERYL D. )
WILLIAMS, CASEY DEWAYNE WILLIAMS, MICHAEL       )
DOUGLAS WILLIAMS, STANLEY F. WILLIAMS, EARL H   )
WILLIAMS, BRANDON JEROME WILLIAMS, DANTE        )
WILLIAMS, EDDIE WILLIAMS, EDWARD L.             )
WILLIAMS, GARY LEE WILLIAMS, MARTIN LUTHER      )
WILLIAMS, ROSE MARY WILLIAMS, WILLIAM P.        )
WILLIAMS, RONNIE R WILLIAMS, RHONDA SUE         )
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WILLIAMS, PAMELA WILLIAMS, J C WILLIAMS,                  )
PAULETTE WILLIAMS, PRESTON WILLIAMS, SHANNON )
WILLIAMS, SHARONDHA WILLIAMS, OSWALD                      )
AUGUSTUS WILLIAMS II, ANDRE TANSANA                       )
WILLIAMS SR, DIANNA LYNN WILLS, MARK E. WILSON, )
TAWNY JO WILSON, PATRICIA MARIE WILSON,                   )
GERALD T. WILSON, SANDRA WILSON, DORIS WILSON, )
PATRICIA WILSON, TIMOTHY WILSON, DEBRA WILSON – )
BUTRICK, LANCE JAMES WING, DUANE WINN,                    )
CHRISTOPHER A. WOLFE, JOHN G. WOODMAN C/O JANE )
M. WOODMAN, RICHARD LEE WOODMARK, DEWONE L )
WOODS, JERRY LYNN WOODS, MICHAEL PAUL WOODS, )
GREGORY REXX WOODS, LAURA E. WOOLEY, CODI                 )
ALYSON WORLEY, MELISSA ANN WORLEY, MARIE                  )
WORSTELL, ALLEN C/O MARIE WORSTELL WORSTELL, )
TYICE WRIGHT, JUDITH WRIGHT, LUCAS WILLIAMS               )
WYATT, CODY DEAN WYCKOFF, CHARLIE WYLIE,                  )
MATTHEW YATES, JAMES Z. YELVERTON, MONTE ALAN )
YORK, ROBERT A. YORK SR, UPTON YOST, LATASHA              )
Y YOUNG, GORDON YOUNG, KAY YOUNG, THOMAS                  )
MICHAEL YOUNKE, JULIUS ZAJIC, NICANOR ZAMORA, )
MARILEE KATHERINE ZIMMER, JAMES EUGENE                    )
ZIMMERMAN SR., and CASSANDRA DENISE ZORN,                 )
individually and on behalf of similarly situated persons, )
                                                          )
                                                          )
               Plaintiffs,                                )
                                                          )
v.                                                        )
                                                          )
PROFESSIONAL TRANSPORTATION, INC., an Indiana             )
corporation licensed to conduct business in Illinois, and )
RONALD D. ROMAIN, Individually, Statutory Employer        )
and President of PROFESSIONAL TRANSPORTATION, INC., )
                                                          )
                                                          )
               Defendants.                                )
                                                          )


                     COMPLAINT – FLSA COLLECTIVE ACTION

      COME NOW, plaintiffs and all other similarly situated persons who are former and/or

current employees of defendants, Professional Transportation, Inc. and Ronald D. Romain, by
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their counsel, Joseph H. Cassell of Eron Law, P.A. and Terry D. Smith of Law Offices of Terry

D. Smith, and for their cause of action against defendants, allege and state as follows:

                                   GENERAL ALLEGATIONS

        1.      This is an action to recover minimum wages and overtime for driving activities

performed by over the road drivers.

        2.      Plaintiffs also seek additional time for minimum wage and overtime purposes,

based on defendants’ use of the later of the Need Time or Origin Arrival Time for local pick-ups.

        3.      In addition to the additional time sought for defendants’ use of the later of the two

times noted above, plaintiffs’ also seek the time defendants’ deduct as “commute time” from

their hours worked for trips that do not originate or end at the branch location beginning on

August 21, 2013 and later.

        4.      This cause of action is brought pursuant to the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”).

                                            JURISDICTION

        5.      This Court has original jurisdiction to hear this complaint and to adjudicate the

claim stated herein under federal law, pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

        6.      Venue is proper in the United States District Court for the Southern District of

Illinois, pursuant to (i) 28 U.S.C. § 1391(b)(1), as defendants conduct business in this judicial

district with branch offices located in Dupo, Collinsville and East Saint Louis, Illinois, and (ii)

28 U.S.C. § 1391(b)(2), as a substantial part of the events and omissions giving rise to plaintiffs’

claim occurred in this judicial district.
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                                                     PARTIES

         7.       Plaintiffs were or are employees of defendants engaged as over the road drivers of

non-commercial motor vehicles.

         8.       Defendant Professional Transportation, Inc. (“PTI”) is an Indiana corporation.

PTI is an employer, pursuant to 28 U.S.C. § 203.

         9.       Defendant Ronald D. Romain (“Romain”) is the president and secretary of

defendant PTI, and he is a statutory employer, pursuant to 28 U.S.C. § 203.

         10.      Plaintiffs 1 had opted 2 into Crawford (formerly Blair) v PTI, Civil Action No.

3:14-cv-018 (S. D. Ind.), which class of plaintiffs therein was conditionally certified for purposes

of facilitating FLSA § 216(b) notice. 3 (Dkt. 33, April 10, 2014). Later, the conditional class was

decertified by that court (Dkt. 339, March 22, 2017, on reconsideration, Dkt. 372, August 17,

2017).

                               COLLECTIVE ACTION ALLEGATIONS

         11.      Plaintiffs bring their FLSA claim as a collective action on behalf of themselves

and all other similarly situated individuals, pursuant to 29 U.S.C. § 216(b), for the failure of

defendants to pay minimum wage, overtime, and to properly account for all hours worked by

plaintiffs, in their service to defendants.




         1
             Thirty of the plaintiffs, Thomas Asbridge Jr., Donna Bailey, Robert Blackson, Summer Brown, Gaylena
Bunch, Theartha Burt, Linda Cage, Ricky Carlsness, Ransom Collins, Bill Currie, Chauncey Fitzpatrick, Maxwell
Hardoby, Jeanette Horton, Cathy Johnson, Willie Jones, Philip Kariuki, Russell Kirkman, Michael Liskooka,
Jennifer Mann, Alesa Mays, Janice McCaskey, Charles McLain, Michael Mornard, Martin Schwartz, Thomas Scott,
Arlanda Smith, Roland Staples Jr, Jared Stubblefield, Dante Williams, and Eddie Williams, originally were named
plaintiffs in Asbridge v PTI, Civil Action No. 3:14-cv-129 (S.D. Ind.) filed September 12, 2017. By order of that
court, Asbridge was consolidated with Crawford (Dkt. 278, July 15, 2016), and subject to the decertification order.
          2
            See, Consents to Opt In in Crawford at Dkts. 6, 7, 12, 18, 23, 25, 27, 29, 31, 34, 37, 39, 40, 42, 44-56, 58-
61, 63, 65, 67-70, 72-77, 79-81, 85, 87, 88, 90, 91, 93-95, 97, 99, 101, 103, 106, 107, 109, 111, 113, 115, 117, 118,
120, 122, 124, 126, 128, 129, 131, 133, 137-139, 141, 143, 145-147, 149, 151, 153, 155, 156, 158, 160 & 162.
          3
            Attached hereto is Exhibit A, a list of all plaintiffs with their opt-in dates in Crawford.
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        12.     Members of the proposed collective action were not paid overtime compensation

for hours worked in excess of 40 during a seven-day period as required by 29 U.S.C. § 207, and

were not paid minimum wages as required by 29 U.S.C. § 206, for driving time.

        13.     In addition to not paying minimum wage and overtime, members of the class seek

to have their working time properly accounted for by requiring defendants to use the correct start

time for local pick-ups and by finding defendants deduction of commute driving time is against

the FLSA.

                                               FACTS

        14.     Defendant PTI is a privately held corporation that is engaged in interstate

commerce.

        15.     Defendant PTI’s primary business is ground transportation of railroad crews both

interstate and intrastate.

        16.     Defendant PTI conducts business in approximately 30 states and the District of

Columbia.

        17.     Defendant PTI conducts business in the state of Illinois and in several locations in

this judicial district, to include Collinsville, Dupo and East St. Louis, Illinois.

        18.     The named plaintiffs and the putative class they represent are drivers whom have

driven in over-the-road driving service for defendants.

        19.     Upon information and belief, plaintiffs, and the class they represent, were not paid

at least the federal minimum wage for all hours worked.

        20.     Upon information and belief, plaintiffs, and the class they represent, were not paid

overtime for all hours over 40 worked in a week.
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          21.   Defendants have a policy of using the later of the Need Time or Origin Time to

determine when a pick-up is local, as determined by PTI, in nature.

          22.   Defendants’ policy of using the later of the Need Time or Origin Time to

determine when a pick-up is local, uniform and company-wide.

          23.   Need Time is the time and date the railroad expects a driver to arrive at the Origin

or pick-up location.

          24.   The Origin location is the designated location that the driver is to meet or pick-up

the railroad crew.

          25.   The Origin Time is the time the driver reported arriving at the Origin location.

          26.   A pick-up is local in nature when the pick-up or Origin location is one in which

the driver must not drive to Origin location, as determined by PTI.

          27.   At the latest, a driver must be present at the Origin location for a local pick-up,

with the vehicle ready to accept passengers and depart, no later than the Need Time as assigned

by PTI.

          28.   The use of the later of the Need Time or Origin Time for pick-ups that are local

may not accurately reflect when a driver’s work actually began for any given trip.

       29.      A driver may be disciplined for not being present at the Origin location when the

pick-up point is local in nature if they arrive at the Origin location after the Need Time.

       30.      Beginning May 1, 2013, PTI implemented a policy of requiring its drivers to

perform vehicle inspections at the end of a trip or day’s work.

       31.      Beginning on August 21, 2013 and later, PTI began deducting what it classified as

“commute” time from certain over-the-road trips performed by its drivers.
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       32.     For a majority of the branch locations and trips, PTI stores or parks its vehicles at

a central location.

       33.     For vehicles that are stored at a central location, a driver must arrive at the central

location, obtain credit (fuel) cards, keys, and other necessary items prior to getting into the

vehicle and departing for the Origin location.

       34.     If PTI deemed the trip to have not started at the branch location, PTI begins the

determination as to when a trip begins by deducting a predetermined amount of time from the

Begin Time as reported by the driver.

       35.     This adjustment in the Begin Time for a driver’s trip in which the pick-up us not

local in nature is due to PTI considering such time to be a driver’s commute time. (For ease of

understanding and the purposes of this Complaint only, when the Begin Time is adjusted by PTI

for commute time, plaintiffs’ counsel will refer to this as “Adjusted Begin Time.”)

       36.     PTI will deduct commute time from any trip that it deems the driver to have

commuted, regardless of whether the driver departed from home, or from the branch or other

location where the vehicles are stored/parked to the Origin location.

       37.     By adding the number of minutes PTI claims as commute time to the Begin Time,

the Adjusted Begin Time becomes later than the actual Begin Time.

       38.     PTI will then compare the Adjusted Begin Time to the Origin Time and use the

earlier of the two times as the time in which a trip started.

       39.     If PTI deems a trip to have not ended at the branch location, PTI will also deduct

“commute” time at the end of a driver’s trip, in addition to possible commute time at the

beginning of a trip.
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        40.      For trips that did not end at the branch location and for which PTI deems it

necessary to deduct commute time from a driver’s time, PTI will subtract the commute time in

minutes from the End Time. (For ease of understanding, this shall be referred to in this

Complaint as the “Adjusted End Time”).

        41.      By subtracting time PTI considers to be commute time from the End Time, the

Adjusted End Time becomes earlier than the actual End Time of the trip.

        42.      The End Time is the time the driver reported as ending his/her trip.

        43.      For trips that do not end at the branch location, PTI will use the later of the

Adjusted End Time or the Destination Depart Time.

        44.      The Destination Depart Time is the time the driver reported departing the

destination or crew release location.

        45.      If the Destination Depart Time is used as the time PTI determines a trip to have

ended, the driver must still drive from the Destination location to the branch office, close out or

end his/her trip, after inspecting, refueling and cleaning his/her vehicle per PTI policy.

        46.      If the Adjusted End Time is used as the time PTI deems the trip to have ended,

time required to perform such items as refueling, servicing, cleaning, and inspecting the vehicle

will not be fully captured due to PTI’s deduction of commute time from the End Time of the trip.

        47.      Used of the Adjusted Begin Time and/or Adjusted End Time shortens the total

time a driver is on duty for that particular trip.

        48.      An example of PTI’s deducing for commute time is as follows:

        A.       On January 24, 2014, driver Joseph Miller, employee number 91481, was

assigned the following trips.

        Trip 1
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                  1.       Branch Location – Atlanta, GA
                  2.       Authorization No. - 61522
                  3.       Need Time - 12:15 hours on January 24, 2014
                  4.       Origin Location – Atlanta, GA
                  5.       Destination Location – Atlanta, GA
                  6.       Begin Time – 11:35 on January 24, 2014
                  7.       Origin Arrival Time – 11:50 on January 24, 2014
                  8.       Odometer at Beginning Location – 50632 4
                  9.       Odometer at Origin Location – 50636
                  10.      Destination Departure Time – 12:12 on January 24, 2014
                  11.      End Time – 12:27 on January 24, 2014
                  12.      Number of minutes for commute time at this terminal – 26
                  13.      Did Trip Start at Branch Location – No (according to PTI)
                  14.      Did Trip End at Branch Location – No (according to PTI)
                  15.      Time PTI used to determine when trip started – Origin Arrival Time
                  16.      Time PTI used to determine when trip ended – Destination Departure Time

         Trip 2

                  17.      Branch Location – Atlanta, GA
                  18.      Authorization No. - 62522
                  19.      Need Time – 13:30 hours on January 24, 2014
                  20.      Origin Location – Fairburn, GA
                  21.      Destination Location – Fairburn, GA
                  22.      Begin Time – 12:51 on January 24, 2014
                  23.      Origin Arrival Time – 13:03 on January 24, 2014
                  24.      Odometer at Beginning Location – 50694
                  25.      Odometer at Origin Location – 50722
                  26.      Destination Departure Time – 14:42 on January 24, 2014
                  27.      End Time – 15:15 on January 24, 2014
                  28.      Number of minutes for commute time at this terminal – 26
                  29.      Did Trip Start at Branch Location – No (according to PTI)
                  30.      Did Trip End at Branch Location – No (according to PTI)
                  31.      Time PTI used to determine when trip started – Adjusted Begin Time
                  32.      Time PTI used to determine when trip ended – Adjusted End Time

         Trip 3

                  33.      Branch Location – Atlanta, GA
                  34.      Authorization No. - 63772
                  35.      Need Time – 17:00 hours on January 24, 2014
                  36.      Origin Location – Fairburn, GA
                  37.      Destination Location – Fairburn, GA
                  38.      Begin Time – 16:07 on January 24, 2014

         4
             When the trip is closed via the Crew Mobile device, odometer readings are automatically captured. If the
trip is closed manually, the odometer readings must be supplied by the driver.
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               39.    Origin Arrival Time – 17:00 on January 24, 2014
               40.    Odometer at Beginning Location – 50695
               41.    Odometer at Origin Location – 50722
               42.    Destination Departure Time – 17:56 on January 24, 2014
               43.    End Time – 18:32 on January 24, 2014
               44.    Number of minutes for commute time at this terminal – 26
               45.    Did Trip Start at Branch Location – No (according to PTI)
               46.    Did Trip End at Branch Location – No (according to PTI)
               47.    Time PTI used to determine when trip started – Adjusted Begin Time
               48.    Time PTI used to determine when trip ended – Adjusted End Time

      Trip 4

               49.    Branch Location – Atlanta, GA
               50.    Authorization No. – P40022512
               51.    Need Time – 19:30 hours on January 24, 2014
               52.    Origin Location – Fairburn, GA
               53.    Destination Location – Fairburn, GA
               54.    Begin Time – 18:46 on January 24, 2014
               55.    Origin Arrival Time – 19:07 on January 24, 2014
               56.    Odometer at Beginning Location – 50751
               57.    Odometer at Origin Location – 50755
               58.    Destination Departure Time – 21:31 on January 24, 2014
               59.    End Time – 22:20 on January 24, 2014
               60.    Number of minutes for commute time at this terminal – 26
               61.    Did Trip Start at Branch Location – No (according to PTI)
               62.    Did Trip End at Branch Location – No (according to PTI)
               63.    Time PTI used to determine when trip started – Origin Arrival Time
               64.    Time PTI used to determine when trip ended – Adjusted End Time

      49.      Mr. Miller’s trip data shows it that:

               A.     He drove four miles to the pick-up location for Trip 1.

               B.     PTI used the Destination Depart Time as the time Trip 1 ended.

               C.     Mr. Miller drove from Atlanta, where Trip 1 ended to Fairburn,

                      GA, where Trip 2 originated, a distance of 28 miles to the Origin

                      location.

               D.     PTI considered Mr. Miller’s driving to Fairburn from Atlanta,

                      commute time.
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                E.     PTI did not use Mr. Miller’s Begin time to determine when Trip 2

                       started.

                F.     Trip 2 ended at Fairburn, GA.

                G.     PTI considered Mr. Miller to have to commute from Fairburn, GA

                       to Fairburn, GA to end the trip as PTI used the Adjusted End Time

                       to determine when the trip ended.

                H.     Trip 3 began at Fairburn, GA.

                I.     PTI considered Mr. Miller to have commuted from Fairburn, GA

                       to Fairburn, GA to begin Trip 3.

                J.     Trip 3 ended at Fairburn, GA.

                K.     PTI considered Mr. Miller to have commuted to Fairburn, GA to

                       Fairburn, GA, where his trip ended.

                L.     Trip 4 had an Origin location of Atlanta, GA.

                M.     PTI used the Origin Arrival time to determine when Mr. Miller’s

                       Trip 4, started.

                N.     Trip 4’s destination was Ray, GA.

                O.     PTI considers the time Trip 4 to have ended was by using the

                       Adjusted End Time.

       50.      Mr. Miller’s time was not accounted for during his driving from Atlanta, GA to

Fairburn, GA.

       51.      PTI’s assessment of commute time for the start of Mr. Miller’s trips that

originated at Fairburn, GA is improper.
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       52.     PTI’s assessment of commute time for the end of Mr. Miller’s trips that ended in

Fairburn, GA and Ray, GA is improper.

       53.     Due to PTI’s policy of deducting commute time from a driver’s working hours, all

hours spent working by the named plaintiffs and members of the putative class, have not been

properly accounted for and members of the class may be owned minimum wage and/or overtime

damages pursuant to the FLSA.

       54.     The policies of when a trip begins with a local pick-up and the policy of

deducting “commute” time are company-wide.

       55.     The named plaintiffs and/or members of the putative class they represent have no

input or say as to the implementation of the policies of when a trip begins, how working hours

are calculated or when a trip ends.

       56.     PTI rounds driver’s working time in accordance with 29 C.F.R. § 785.48(b).

       57.     Pursuant to PTI’s time rounding policy, a driver’s working time rounded to the

nearest fifteen (15) minutes.

       58.     Per PTI’s policy, a driver’s time is rounded as follows:

               Minutes worked                Minutes paid pursuant to rounding policy

               0 – 7 minutes worked                  0 minutes credited time
               8 – 22 minutes worked                 15 minutes credited time
               23 – 37 minutes worked                30 minutes credited time
               38 – 52 minutes worked                45 minutes credited time
               53 – 60 minutes worked                60 minutes credited time

       59.     Due to PTI’s policy of rounding time, the addition of one minute of working time

may mean that a driver may be entitled to minimum wage and overtime damages.

       60.     Because defendants did not act in good faith and actively attempted to

mislead plaintiffs, and other similarly situated current and former employees, they are
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entitled to liquidated damages in the amount of, and in addition to, their unpaid overtime

compensation and the difference between the average hourly rate of pay that plaintiffs were

paid and the statutory minimum wage as defined by 29 U.S.C. § 206, as allowed for by 29

U.S.C. § 216(b).

       61.     Based on defendants’ bad faith, prior litigation, deficiencies as found by the

U.S. DOL, and defendants’ active deception of the proposed class, the three year statute of

limitations should apply, pursuant to 29 U.S.C. § 216(b).

       62.     In addition to the damages of unpaid overtime compensation, minimum

wages and liquidated damages, plaintiffs are entitled to reasonable attorney fees and the

associated costs with bringing this action, pursuant to 29 U.S.C. § 216(b).

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiffs and all other similarly situated persons who are former and current

employees of defendants, Professional Transportation, Inc. and Ronald D. Romain, pray for

judgment as follows:

       A.      Issuance of notice pursuant to 29 U.S.C. § 216(b) as soon as possible to all over-

the-road drivers who are currently employed by or have been employed by any defendant for a

period of three (3) years immediately preceding this action. This notice should inform the class

members that this action has been filed, describe the nature of the action and explain their

right to opt-in to this action if she have not been compensated for their hours worked, for

driving and non-driving activities, in excess of 40 hours in a week at the overtime rate of

one and one-half times their regular rate of pay during the statutory period, and for minimum

wages due;
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       B.      Judgment against defendants for their willful failure to pay minimum wages and

overtime compensation at one and one-half times the regular rate of pay for all over-the-road

drivers;

       C.      An amount of liquidated damages equal to the sum of minimum wages

and unpaid overtime due for defendants’ willful refusal to pay such required minimum

wages and overtime compensation;

       D.      Attorney fees and costs associated with this cause of action;

       E.      Leave to allow additional opt-in plaintiffs to join and

       F.      All other relief this court deems just and equitable.


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                                 REQUEST FOR TRIAL BY JURY

       Plaintiffs request a trial by jury on all issues so triable.

                                                                       s/Joseph H. Cassell
